

People v Scott (2024 NY Slip Op 01456)





People v Scott


2024 NY Slip Op 01456


Decided on March 15, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 15, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., LINDLEY, BANNISTER, OGDEN, AND DELCONTE, JJ.


952 KA 22-00447

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vKENNETH R. SCOTT, JR., DEFENDANT-APPELLANT. (APPEAL NO. 2.) 






RYAN JAMES MULDOON, AUBURN, FOR DEFENDANT-APPELLANT. 
BRITTANY GROME ANTONACCI, DISTRICT ATTORNEY, AUBURN (CHRISTOPHER T. VALDINA OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Cayuga County Court (Thomas G. Leone, J.), rendered March 10, 2022. The judgment convicted defendant, upon his plea of guilty, of criminal possession of a weapon in the fourth degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Same memorandum as in People v Scott ([appeal No. 1] — AD3d — [Mar. 15, 2024] [4th Dept 2024]).
Entered: March 15, 2024
Ann Dillon Flynn
Clerk of the Court








